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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                 2:03-cr-114-FtM-29DNF

GERARD JULES
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                             OPINION AND ORDER

      This matter comes before the Court on defendant’s          3582(c)(2)

Motion to Vacate, Set Aside or Correct (Doc. #91) and Judicial

Notice and Request for Re-Sentencing Instanter (Doc. #92), both

filed on January 30, 2012.        Defendant seeks re-sentencing pursuant

to Amendment 750 to the U.S. Sentencing Guidelines.

      Title 18 U.S.C. § 3582(c) gives the court discretionary

authority   to    reduce    the   term   of   imprisonment   portion   of    a

defendant’s      sentence   under    certain    circumstances.      Section

3582(c)(2) provides in pertinent part:

      (c) The court may not modify a term of imprisonment once
      it has been imposed except that -
      . . .
      (2) in the case of a defendant who has been sentenced to
      a term of imprisonment based on a sentencing range that
      has subsequently been lowered by the Sentencing
      Commission pursuant to 28 U.S.C. 994(o), upon motion of
      the defendant or the Director of the Bureau of Prisons,
      or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable,
      if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.
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18 U.S.C. § 3582(c)(2).         The relevant United States Sentencing

Guidelines (U.S.S.G.) policy statement is U.S.S.G. § 1B1.10, as

amended by Amendment 750.

     The    October    18,   2011   Memorandum      submitted     by    the   U.S.

Probation Office states that defendant is eligible for a sentence

reduction    under    Amendment     750,    and   that    the   new    Sentencing

Guidelines range is 120 months (because of the statutory mandatory

minimum). It appears that defendant is close to having served this

sentence, if he received good time credits.              While court-appointed

counsel has not yet filed a memorandum, and there is a legal

dispute as to the applicability of the statutory mandatory minimum

sentence in these circumstances, it seems that justice is best

served by granting the motion in part, reducing the sentence to the

120 months, and then allowing defendant or counsel to seek further

reduction by separate motion if defendant contends he is eligible

for such a further reduction.

     Accordingly, it is now

     ORDERED:

     1.     Defendant’s      3582(c)(2) Motion to Vacate, Set Aside or

Correct (Doc. #91) is GRANTED in part and DENIED in part as set

forth below.

     2.     The Clerk of the Court shall enter a Second Amended

Judgment reducing the sentence imposed to one-hundred twenty (120)

months imprisonment or time served, whichever is longer, and


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otherwise    leaving   all   other   components    of   the   sentence       as

originally imposed.     This Opinion and Order and the Second Amended

Judgment is subject to the prohibition contained within U.S.S.G. §

1B1.10(b)(2)(c) which provides that “[i]n no event may the reduced

term of imprisonment be less than the term of imprisonment the

defendant has already served.”

     3.     The release of defendant pursuant to this Opinion and

Order and Second Amended Judgment shall be stayed for ten calendar

days measured from the date of the filing of the Second Amended

Judgment, or until such time as the Bureau of Prisons has completed

the release preparations, whichever is sooner.

     4.     Defendant may file a supplemental motion for further

reduction under Amendment 750 if he asserts he is eligible for a

further reduction.

     DONE AND ORDERED at Fort Myers, Florida, this            10th   day of

February, 2012.




Copies:
Counsel of Record
Gerard Jules
U.S. Marshal
U.S. Probation
DCCD




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